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                                         UNITED STATES DISTRICT COURT
                                                  NORTHERN DISTRICT OF OKLAHOMA
        Video Gaming Technologies, Inc.
                              Plaintiff(s)

vs.                                                                               Case Number: 17-cv-454-GKF-JFJ

        Castle Hill Studios LLC, et al.,
                            Defendant(s)

                                                 CORPORATE DISCLOSURE STATEMENT

Pursuant to Fed.R.Civ.P. 7.1, which states:
              A nongovernmental corporate party to an action or proceeding in a district court must file
              a statement that identifies any parent corporation and any publicly held corporation that
              owns 10% or more of its stock or states that there is no such corporation.


                                                              Castle Hill Studios LLC
                                                                [name of party]

who is a (check one)                   PLAINTIFF          ✔   DEFENDANT            in this action, makes the following disclosure:


1.         Is party a publicly held corporation or other publicly held entity?
                     (Check one)                 YES      ✔   NO

2.         Does party have any parent corporations?
                     (Check one)             ✔   YES          NO
           If YES, identify all parent corporations, including grandparent and great-grandparent corporations:
            A 100% interest in Castle Hill Studios, LLC is held by Castle Hill Holding LLC.




3.         Is 10% or more of the stock of party owned by a publicly held corporation or other publicly held
           entity?
                     (Check one)                 YES      ✔   NO
           If YES, identify all such owners:




 Corporate Disclosure Statement                                         1                                               CV-24 (04/07)
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4.         Is there any other publicly held corporation or other publicly held entity that has a direct
           financial interest in the outcome of the litigation?
                     (Check one)     YES        ✔   NO
           If YES, identify entity and nature of interest:




5.         Is party a trade association?
                     (Check one)     YES        ✔   NO
           If YES, identify all members of the association, their parent corporations, and any publicly held
           companies that own 10% or more of a member’s stock:




DATED this 12th day of September              , 20 17 .

                                                             s/ James C. Hodges
                                                             Signature
                                                             James C. Hodges                          4254
                                                             Printed Name                                  Bar Number
                                                             James C. Hodges, P.C.
                                                             Firm Name
                                                             2622 East 21st Street, Suite 4
                                                             Address
                                                             Tulsa                                    OK       74114
                                                             City                                     State    ZIP
                                                             (918) 779-7078                   (918) 770-9779
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                                                             Email Address




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                                                 CERTIFICATE OF SERVICE

I hereby certify that on September 12, 2017          (Date), I electronically transmitted the foregoing document to
the Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic Filing to the following ECF
registrants (names only are sufficient):
Graydon Dean Luthey, Jr.; Gary M. Rubman; Neil K. Roman; Peter Andrew Swanson; and Rebecca Barret Dalton




I hereby certify that on         September 12, 2017        (Date), I served the same document by
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                                 Michael Sawyer, Covington & Burling LLP
                                 850 TENTH ST NW
                                 WASHINGTON DC 20001-4956
Name(s) and Address(es):




                                                               s/ James C. Hodges
                                                                Signature




Corporate Disclosure Statement                                      3                                          CV-24 (04/07)
